



 





THIS OPINION
  HAS NO PRECEDENTIAL VALUE. IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN
  ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				Dana Weldon, Appellant,
				v.
				South Carolina Department
      of Probation, Parole, and Pardon Services, Respondent.
			
		
	


Appeal From Administrative Law Court
Carolyn C. Matthews, Administrative Law
  Judge
Unpublished Opinion No. 2010-UP-313
Submitted June 1, 2010  Filed June 15, 2010
Affirmed


	
		
			
				Tommy Arthur Thomas, of Irmo, for Appellant.
				Tommy&nbsp; Evans, Jr., of Columbia, for Respondent.
			
		
	

PER CURIAM: Dana Weldon appeals the South Carolina Parole Board's (the Board) denial of his
  parole, arguing the Board failed to comply with Cooper v. South Carolina Department of Probation,
    Parole and Pardon Services. 377 S.C.
  489, 661 S.E.2d 106 (2008).&nbsp; We affirm[1] pursuant to Rule 220(b)(1), SCACR, and the
  following authority: Compton v. S.C.
    Dep't of Prob., Parole &amp; Pardon Servs., 385 S.C. 476, 479, 685 S.E.2d 175, 179&nbsp;(2009) (holding an order
  denying parole is sufficient under Cooper if it states the Board
  considered the statutory criteria in section 24-21-640 of the South Carolina
  Code (2007) and parole form 1212).&nbsp; 
Affirmed.
FEW, C.J., WILLIAMS, J., and CURETON, A.J., concur. 


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

